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            EXHIBIT N
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

  STATE OF NEW JERSEY, et al.                      :
                                                   :
            Plaintiffs,
                                                   :
     v.                                            :
                                                   :
                                                   :   Civil Action No.: ___________
                                                                         25-cv-10139
  DONALD J. TRUMP, et al.
                                                   :
            Defendants.                            :
                                                   :
                                                   :
                                                   :


                          Declaration of Elizabeth Villamil-Cummings

   I, Elizabeth Villamil-Cummings, hereby declare:

1. I am the New York State Registrar and the Director of the Bureau of Vital Records at the

   New York Department of Health (“DOH”). I have held this position since June 2023. As the

   State Registrar, I oversee all of the Bureau’s operations including the filing of vital records

   and the processing of applications and court order for copies of, and amendments to, such

   records, in New York State, outside of New York City. Before this position, I was the

   Director of Data Management and Analytics in the Bureau of Vital Records.

2. As the State Registrar, I have personal knowledge of the matters set forth below, or have

   knowledge of the matters based on my review of information and records gathered by my

   staff.

3. I am providing this declaration to explain certain impacts of the Executive Order “Protecting

   the Meaning and Value of American Citizenship” (January 20, 2025) (the “Executive

   Order”), which revokes birthright citizenship for certain newly-born children of immigrants

   in the United States, on the State of New York’s vital records programs.


                                                                                                1
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4. DOH’s mission is to protect and promote health and well-being for all, building on a

   foundation of health equity. To support that goal, DOH performs many functions, including

   regulating healthcare facilities and overseeing the registration of vital events such as births.

                          Registration and Birth Certificates of Newborns

5. Healthcare facilities coordinate with New York State Bureau of Vital Records 1 to collect

   information to register a child’s birth.

6. When a child is born in a healthcare facility, a medical attendant to the birth is statutorily

   obligated to register the birth with the institution’s registrar. They provide the newborn’s

   parents with a Birth Certificate Work Booklet that asks for several pieces of information,

   including the parents’ place of birth and Social Security Numbers (SSNs). 2 The Work

   Booklet does not inquire about, or require proof of, the parents’ immigration status. A copy

   of the Birth Certificate Work Booklet is attached hereto, as Exhibit A.

7. After the newborn’s parents complete and sign the Work Booklet, hospital staff enter the

   information from the Work Booklet into an electronic birth registration system maintained by

   the Bureau of Vital Records.

8. When a record is complete, the hospital prints out a short-form birth certificate, which contains

   only that portion of the birth information contained on the legal record. Once the physician or

   hospital administrator has signed the certificate, the record is filed with the local registrar, who

   in turn sends the state’s copy of the certificate to the state.



1 Through a cooperative agreement, the DOH Bureau of Vital Records receives data on vital

events recorded in New York City from the New York City Department of Health and Mental
Hygiene’s Bureau of Vital Statistics.
2 Parents of children born in New York State are provided with a Work Booklet by the New

York State Bureau of Vital Records, and parents of children born in New York City are provided
with a Work Booklet by the New York City Department of Health and Mental Hygiene’s Bureau
of Vital Statistics.
                                                                                                     2
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9. A newborn’s completed birth certificate does not indicate whether the parents have an SSN.

   The only information provided on a birth certificate regarding the child’s parents is the

   birthing parent’s legal name, the second parent’s full name (if provided), their places and

   dates of birth, residence, and mailing addresses. Currently, it is not possible to determine a

   foreign-born parent’s immigration status from their child’s birth certificate.

10. Healthcare facilities do not routinely ask patients, including new parents, for their

   immigration status and do not collect proof of citizenship or immigration status.

                       Application for Social Security Number of Newborns

11. Through the birth certificate registration process at a healthcare facility, parents have the

   opportunity to apply for an SSN for their newborn through a Social Security Administration

   (“SSA”) program called Enumeration at Birth (“EAB”).

12. The EAB program is voluntary for families, but according to SSA, about 99 percent of SSNs

   for infants are assigned through this program. 3

13. To obtain an SSN through the EAB program, newborn parents can indicate on the Work

   Booklet that they allow the furnishing of information from the Work Booklet to SSA to issue

   their child an SSN.

14. The EAB application asks for the parents’ SSNs. Parents born outside the United States can

   apply for and receive an SSN for their child without including their own SSNs on the

   application. Because children born in the United States are entitled to U.S. citizenship, they

   are eligible for SSNs regardless of their parents’ immigration status.




3 SOCIAL SECURITY ADMINISTRATION – BUREAU OF VITAL STATISTICS , STATE PROCESSING

GUIDELINES FOR ENUMERATION AT BIRTH (2024), https://perma.cc/UK22-ZQSS.
                                                                                                    3
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15. Healthcare facilities transmit these requests electronically to the Bureau of Vital Records,

   which then transmits the request to SSA.

16. New York receives federal funding from the SSA EAB process on a quarterly basis for each

   SSN that is issued through the EAB process. The State receives $4.82 per SSN issued

   through the EAB process, or approximately $111,000 per quarter. The state generally

   receives payment a month after the quarter ends, and is thus expecting its next payment in

   April 2025.

               Effects of the Executive Order on Registration and EAB Process

17. Following the Executive Order, children born in the United States to two undocumented

   parents, among others, will no longer be considered citizens and will therefore be deemed

   ineligible for an SSN. The State of New York will lose revenue from the SSA, because fewer

   children born in the U.S. will be eligible for SSNs. The State of New York also anticipates a

   chilling effect, wherein fewer parents will opt in to the EAB program, out of concerns about

   sharing their information with the federal government. This, too, will result in reduced

   revenue to the State of New York.

18. In addition to the loss in funding, the State of New York would need to update its

   information technology infrastructure and train health care staff in how to document the

   information necessary to determine whether a child born in New York is eligible for an SSN.

   In addition, the Bureau of Vital Records would need to differentiate the births between those

   born to U.S. citizens or lawful permanent residents, or those born in the U.S. This would

   result in two different birth certificates, enhanced information gathering on parents’

   citizenship and technology advancements to capture the new workflow, data modifications

   and verification processes.



                                                                                               4
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19. The State of New York also anticipates that it is likely that the electronic system and

   guidelines for submitting SSN applications through that system—which are currently

   detailed in a 59-page SSA manual—would have to be revised. This would likely require

   healthcare facilities to train, and potentially hire, staff to work with parents in obtaining, and

   then verifying, the requisite documents to establish lawful immigration status.

20. If, as a result of the Executive Order, the newborn registration process has to be amended to

   provide for verification of the parents’ citizenship and/or immigration status, this would

   impose material administrative burdens on the State to communicate with and train staff in

   healthcare facilities. There are 121 maternity hospitals across the State of New York, and it

   is a huge undertaking to communicate with these hospitals and birthing centers about

   changes to what the Department of Health requires for newborn registration.

21. During the newborn registration process, hospitals ask parents for their SSNs and places of

   birth, but do not directly inquire about immigration status. Currently, healthcare facilities do

   not verify the accuracy of the information provided. If healthcare facilities were required to

   confirm the accuracy of the parents’ places of birth, SSNs, or immigration status, they would

   incur significant new administrative costs to implement a system to substantiate the

   information. This burden will lead to delays in registration and issuance of the newborn’s

   birth certificate, which must be completed within five days under state law. The lack of that

   birth certificate, in turn, can prevent a parent from securing health insurance coverage for the

   infant, leading to otherwise preventable lapses in early pediatric care.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



                                                                                                   5
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            EXHIBIT A
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NEW YORK STATE DEPARTMENT OF HEALTH
Vital Records – Birth Registration Unit
                                                                                     Birth Certificate and SPDS Work Booklet

   Mother’s Name:                                                                                               Mother’s Med. Rec. Number:


  New York State Birth Certificate and Statewide Perinatal Data System Work Booklet
 A child’s birth certificate is a very important document. It is the official record of the child’s full name, date of birth and place
 of birth. Throughout the child’s lifetime, it provides proof of identity and age. As a child grows from childhood to adulthood,
 information in the birth certificate will be needed for many important events such as: entrance to school, obtaining a work
 permit, driver’s license or marriage license, entrance in the Armed Forces, employment, collection of Social Security and
 retirement benefits, and for a passport to travel in foreign lands.

 Because the birth certificate is such an important document, great care must be taken to make certain that it is correct in
 every detail. By completing this work booklet carefully, you can help assure the accuracy of the child’s birth certificate.

 Please Note: The Certificate of Live Birth serves as medical documentation of a birth event. Therefore, the sex of the infant
 (Male, Female, Unknown/ Undetermined – a synonym for intersex) is captured as a medical fact by attending personnel.
 The Department of Health has an administrative interest in retaining the medically designated sex at birth on the Certificate
 of Live Birth to ensure the proper tracking of the health and development of this child. Therefore, the gender designation of
 ‘X (Non-Binary)’ will not be permitted on the original Certificate of Live Birth.

   New York State Birth Certificate:
   PARENTS, for the birth certificate, you must complete the unshaded portions of this work booklet, see pages
   3 - 5, 10 - 12 & 14 (the shaded portions will be completed by hospital staff).
   Information that is not labeled “QI”, “IMM”, ‘HS’, or “NBS” in the work booklet will be used to prepare the official birth
   certificate. The completed birth certificate is filed with the Local Registrar of Vital Statistics of the municipality where the child
   was born within five (5) business days after the birth and with the New York State Department of Health. When the filing
   process is completed, the mother will receive a Certified Copy of the birth certificate. This is an official form that may be used
   as proof of age, parentage, and identity. Receiving it confirms that the child’s birth certificate is officially registered in the
   State of New York. Additional copies of the birth certificate may be obtained from the Local Registrar or the New York State
   Department of Health, P.O. Box 2602, Albany, New York 12220-2602. For further information about obtaining copies, please
   call (518) 474-3077 or visit the New York State Department of Health web site at: www.health.ny.gov/vital_records/.

   All information (including personal/identifying information) is shared with the County Health Departments or other Local
   Health Units where the child was born and where the mother resides, if different. County Health Departments and Local
   Health Units may use this data for Public Health Programs. The Social Security Administration receives a minimal set of data
   ONLY when the parents have indicated, in this work booklet, that they wish to participate in the Social Security
   Administration’s Enumeration at Birth program.

   While individual information is important, public health workers will use medical and demographic data in their efforts to
   identify, monitor, and reduce maternal and newborn risk factors. This information also provides physicians and medical
   scientists with the basis to develop new maternal and childcare programs for New York State residents.



   Statewide Perinatal Data System (SPDS) – Quality Improvement (QI), Immunization Registry
   (IMM), Hearing Screening (HS) and Newborn Screening Program (NBS) Information:

   The information labeled “QI” will be used by medical providers and scientists to perform data analyses aimed at
   improving services provided to pregnant women and their babies. “IMM” information will be used by New York
   State’s Immunization Information System (NYSIIS). A birthing hospital’s obligation to report immunizations for
   newborns can be met by recording the information in SPDS, including the manufacturer and lot number as required
   by law. “HS” information will be used to improve the Newborn Hearing Screening program. Information labeled
   “NBS” will result in significant improvements in the Newborn Screening Program such as better identification and
   earlier treatment of infants at risk for a variety of disorders.




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NEW YORK STATE DEPARTMENT OF HEALTH
Vital Records – Birth Registration Unit
                                                                                   Birth Certificate and SPDS Work Booklet

   Mother’s Name:                                                                                             Mother’s Med. Rec. Number:



 ATTENTION HOSPITAL STAFF:
 This work booklet has been designed to obtain information relating to the pregnancy and birth during the 72-hour period
 immediately following the birth of a live born child in New York State. Hospital staff should complete the shaded portions of
 the work booklet.

 New York State Public Health Law provides the basis for the collection of the birth certificate data. For pertinent information
 about the New York State Public Health Laws refer to sections 206(1)(e), 4102, 4130.5, 4132 and 4135. These laws are also
 described in the New York State Birth Certificate Guidelines. The Guidelines are available to SPDS users on the Help tab of
 the SPDS Core Module.

 Please Note: If the parent or legal guardian wishes to change the gender identification of the child to “X (Non-Binary)”,
 the Parent/Legal Guardian Notarized Affidavit of Gender Error for a Person 16 Years of Age or Under and
 Parent/Legal Guardian Application for Correction of Certificate of Birth for Gender Designation for a Minor forms must
 be completed. If, at the age of 17 years or older, an individual would like to change their gender identification to “X
 (Non-Binary)”, the Application for Correction of Certificate of Birth for Gender Designation for an Adult forms must be
 completed. If requested, parents or legal guardians can be directed to the NYS Bureau of Vital records website for
 more information: Birth Certificates - New York State Department of Health (ny.gov)




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NEW YORK STATE DEPARTMENT OF HEALTH
Vital Records – Birth Registration Unit
                                                                                    Birth Certificate and SPDS Work Booklet

   Mother’s Name:                                                                                              Mother’s Med. Rec. Number:



                          Help for Parents Completing This Work Booklet

      Page 4:       Last Name on Mother’s Birth Certificate
                    This is commonly referred to as “maiden name.” If the mother was adopted, it would be the
                    last name on her birth certificate after the adoption.

      Page 4:       Infant’s Pediatrician/Family Practitioner
                    Enter the name of the doctor who will care for the infant after he/she is released from the
                    hospital. This may or may not be the same as the doctor who cared for the infant while in the
                    hospital.

      Page 11: Last Name on Father’s / Second Parent’s Birth Certificate
               • Father: This is usually the same as his current last name. In the event that a man has
                 changed his last name through marriage, the name on his birth certificate should be
                 entered here. This may or may not be the same as his current last name depending on
                 whether his name was changed by marriage only or changed through a court proceeding
                 which resulted in an amendment to his birth certificate.

                    • Mother (Second Parent): This is commonly referred to as maiden name and is the name
                      on her birth certificate.

                    • In either case: If the parent was adopted it would be the last name on his or her birth
                      certificate after the adoption.




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      NEW YORK STATE DEPARTMENT OF HEALTH
      Vital Records – Birth Registration Unit
                                                                                                              Birth Certificate and SPDS Work Booklet

              Mother’s Name:                                                                                                             Mother’s Med. Rec. Number:



                                                                             New Birth Registration
                       Mother’s First Name:                                                                Mother’s Middle Name:

                       Mother’s Current Last Name :                                                        Last Name on Mother’s Birth Certificate:
Parents
          Mother




                       Social Security Number:                      Mother’s Date of Birth: (MM/DD/YYYY)
                                   –     –                                       /        /
                       Infant’s First Name:                                                  Infant’s Middle Name:

                       Infant’s Last Name:                                                                                      Infant’s Name Suffix
                                                                                                                                (e.g. Jr., 2nd, III):
                       Sex:  Male  Female                                  Plurality:                 Birth Order:                  Medical Record No.:
          Infant




                             Undetermined
                       Date of Birth:                     /         /                Time of Birth: (HH:MM)                      :             am  pm  military (24-hour time)
                         (MM/DD/YYYY)

                       Was child born in this facility?            Yes  No If child was not born in this facility, please answer the following questions:
                       In what type of place was the infant born?                           If New York State Birthing Center, enter its name:
          Infant




                        Freestanding Birth Center         Home (unknown intent)
                          (regulated by DOH)               Clinic / Doctor’s Office
                        Home (intended)                    (not regulated by DOH)          In what county was the child born?
                        Home (unintended)                 Other
Parents




                                                                                              Institution
                       Site of Birth, If Other Type of Place:                 Street Address – if other than Hospital / Birthing Center:
          Birthplace




                       If place of infant’s birth was other than Hospital or Birthing Center:
                          City, town or village where birth occurred:                                                                   Zip / Postal Code:


                       Infant’s Pediatrician/Family Practitioner:
                       Attendant’s Information:
                       License Number: Name:                                                                        Middle                                      Last
          Attendant




                                                                           First


                       Title: (Select one)
                            Medical Doctor          Doctor of Osteopathy          Licensed Midwife (CNM)             Licensed Midwife (CM)         Other
                       Certifier’s Information:
                        Check here if the Certifier is the same as the Attendant (otherwise enter information below)
          Certifier




                       License Number:              Name:                  First                                    Middle                                      Last


                       Title: (Select one)
                            Medical Doctor          Doctor of Osteopathy          Licensed Midwife (CNM)             Licensed Midwife (CM)         Other

                       Primary Payor for this Delivery:
                       Select one:
                         Medicaid / Family Health Plus             Private Insurance                                    Indian Health Service
Parents
          Payor




                         CHAMPUS / TRICARE                         Other Government / Child Health Plus B               Other
                         Self-pay
                       If Medicaid is not the primary payor, is it a secondary                         Is the mother enrolled in an HMO or other managed care
                       payor for this delivery?          Yes  No                                     plan?             Yes  No

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NEW YORK STATE DEPARTMENT OF HEALTH
Vital Records – Birth Registration Unit
                                                                                            Birth Certificate and SPDS Work Booklet

   Mother’s Name:     First                           Middle                                       Last                          Mother’s Med. Rec. Number:

   Father / Second Parent Name: First                 Middle                                       Last                                           Suffix

   Infant’s Name:     First                           Middle                                       Last                          Suffix             Date of Birth


  To the hospital:
  1. Obtain the parent(s) signature(s).
  2. File the original Release Form in the mother's hospital record.
     Note: It is not necessary to file the remainder of the Work Booklet.
  3. Provide a copy to the parent(s).
  4. Do not send copies to the New York State Department of Health or to any Social Security office, unless specifically
     requested by such agency.
  To the parent(s):
  1. Please read the following notice about the collection and use of Social Security Numbers on your child's birth
     certificate.
  2. Please check "Yes" or "No" to indicate if you wish to participate in the Social Security Administration’s Enumeration
     at Birth program.

    NOTICE REGARDING COLLECTION OF PARENTS' SOCIAL SECURITY NUMBERS: The collection of
    parents' Social Security Numbers on the New York State Certificate of Live Birth is mandatory. They are
    required by Public Health Law Section 4132(1) and may be used for child support enforcement, public health
    related purposes, when requested by State, federal and municipal governments for official purposes, when
    required by Public Health Law Section 4173 or 4174, and when otherwise required or authorized by law.

  Social Security Release
  The Social Security Administration offers the parents of newborns an opportunity to apply for a Social Security Number
  for their child through the birth certificate registration process. This is referred to by the Social Security Administration
  as Enumeration at Birth (EAB). If you participate in the EAB, the New York State Department of Health will forward to
  the Social Security Administration information from your child’s birth certificate. Please note that the Social Security
  Administration will not process your EAB request unless, the birth certificate includes your child’s full name. If you
  participate in the EAB, disclosure of parents’ Social Security Numbers is mandated by 42 U.S.C. 405(c)(2). The Social
  Security Number(s) will be used by the Internal Revenue Service (IRS) solely for the purpose of determining Earned
  Income Tax Credit compliance. If you wish to participate in the Social Security Administration EAB program check “Yes”
  below.
  May the Social Security Administration be furnished with information from this form to issue your child a social
  security number?
    Yes     
     No     

  Mother’s Signature                                                                                                   Date

  Father’s or Second
  Parent’s Signature                                                                                                   Date

  Either parent's signature applies to the above release.
  If neither box is checked for the release, a ‘No’ response will be assumed.

    Hospital Name:


    Signature of Hospital Representative:                                                                                                 Date:
    

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  NEW YORK STATE DEPARTMENT OF HEALTH
  Vital Records – Birth Registration Unit
                                                                                                             Birth Certificate and SPDS Work Booklet

              Mother’s Name:                                                                                                                    Mother’s Med. Rec. Number:


                                                                                            Infant
                      If Multiple Births:                                                                 Birth Weight:
                      Number of Live Births:                Number of Fetal Deaths:
                                                                                                                                       grams                       lbs.            oz.
                      If birth weight < 1250 grams (2 lbs. 12 oz.), reason(s) for delivery at a less than level III hospital: (Only if applicable)
                       None  Unknown at this time
  Infant




                      Select all that apply:
                       Rapid / Advanced Labor                      Bleeding                         Fetus at Risk                Severe pre-eclampsia
                       Woman Refused Transfer                      Other (specify)
                      Infant Transferred:                                        NYS Hospital Infant Transferred To:                                    State/Terr./Province:
                       Within 24 hrs  After 24 hrs.  Not
                        transferred
                      Apgar                                                                Is the Infant Alive?                Clinical Estimate                Newborn
                      Scores                5 minutes:               10 minutes:              Yes  No                        of Gestation:                    Treatment
  Birth Information




                      1 minute:                                                               Infant Transferred /
                                                                                                                               (Weeks)                          Given:
                                                                                               Status Unknown                                                    Conjunctivitis only
                                                                                                                                                                 Vitamin K only
                       How is infant being fed at discharge? (Select one)                                                                                        Both
                        Breast Milk Only            Formula Only               Both Breast Milk and Formula                                                   Neither
                        Other                       Do Not Know
                      Newborn Blood-Spot Screening                                             Reason if Lab ID is not submitted:
  Newborn Screening




                      Screening Lab ID Number: (9-digits)
                                                                                                      No NBS Lab ID because infant died prior to test
                                                                                                      No NBS Lab ID because infant transferred prior to test
                                                                                                      Lab ID is unknown / illegible
                      ___ ___ ___ ___ ___ ___ ___ ___ ___                                             Refused NBS

                      Hepatitis B Inoculation
                       Immunization Administered:  Yes  No                                              Immunoglobulin Administered:  Yes  No
  Hepatitis B




                       Date: (MM/DD/YYYY)                      /            /                             Date: (MM/DD/YYYY)                           /          /
                       Mfr:                                                                                Mfr:

                       Lot:                                                                                Lot:
                      Newborn Hearing Screening                                 Equipment Type                   Screening Results
  Hearing Screening




                        Screening Performed (one or both ears)                   AABR        Unknown            Left Ear:               Right Ear:
                        Not Performed – Facility Related                         ABR                                 Pass                   Pass
                        Not Performed – Medical Exclusion (both ears)            TEOAE                               Refer                  Refer
                        Not Performed – Parent Refused                           DPOAE                               Not Performed -        Not Performed -
                                                                                                                          Medical Exclusion       Medical Exclusion
                      Date: (MM/DD/YYYY)        /      /                                   - Enter date final hearing screening was conducted prior to discharge
                         Abnormal Conditions of the Newborn:
                             None  Unknown at this time
  Conditions of the




                            Select all that apply
     Abnormal

     Newborn




                             Assisted ventilation required immediately following delivery                  Assisted ventilation required for more than six hours
                             NICU Admission                                                                Newborn given surfactant replacement therapy
                             Antibiotics received by the newborn for suspected neonatal sepsis             Seizures or serious neurologic dysfunction
                             Significant birth injury (skeletal fx, peripheral nerve injury, soft
                                tissue/solid organ hemorrhage which requires intervention)




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  NEW YORK STATE DEPARTMENT OF HEALTH
  Vital Records – Birth Registration Unit
                                                                                                                Birth Certificate and SPDS Work Booklet

                Mother’s Name:                                                                                                                     Mother’s Med. Rec. Number:



                                                                              Congenital Anomalies
                          None of the listed  Unknown at this time         Diagnosed
                                                                                               If Yes, please indicate all methods used:
                         Select all that apply                               Prenatally?

                          Yes No                                               Yes No           Level II Ultrasound  MSAFP / Triple Screen                          Amniocentesis
                                      Anencephaly
                                                                                                                                                       Other     Unknown
  Congenital Anomalies




                          Yes No                                               Yes No           Level II Ultrasound  MSAFP / Triple Screen                          Amniocentesis
                                      Meningomyelocele/Spina Bifida
                                                                                                                                                       Other     Unknown
                          Yes No      Cyanotic Congenital Heart                Yes No           Level II Ultrasound
                                       Disease                                                                                                         Other     Unknown
                          Yes No      Congenital Diaphragmatic                 Yes No           Level II Ultrasound
                                       Hernia                                                                                                          Other     Unknown
                          Yes No                                               Yes No           Level II Ultrasound
                                      Omphalocele
                                                                                                                                                       Other     Unknown

                          Yes No                                               Yes No           Level II Ultrasound
                                       Gastroschisis
                                                                                                                                                       Other     Unknown
                          Yes No                                               Yes No           Level II Ultrasound
                                       Limb Reduction Defect
                                                                                                                                                       Other     Unknown
                          Yes No       Cleft lip with or without Cleft         Yes No           Level II Ultrasound
  Congenital Anomalies




                                        Palate                                                                                                         Other     Unknown
                          Yes No                                               Yes No           Level II Ultrasound
                                       Cleft Palate Alone
                                                                                                                                                       Other     Unknown
                                       Down Syndrome
                          Yes No                                               Yes No           Level II Ultrasound  MSAFP / Triple Screen  CVS                    Amniocentesis
                                          Karyotype confirmed
                                                                                                                                          Other                  Unknown
                                          Karyotype pending
                                       Other Chromosomal Disorder
                          Yes No                                               Yes No           Level II Ultrasound  MSAFP / Triple Screen  CVS                    Amniocentesis
                                           Karyotype confirmed
                                                                                                                                          Other                  Unknown
                                           Karyotype pending
                          Yes No                                               Yes No           Level II Ultrasound
                                       Hypospadias
                                                                                                                                                       Other     Unknown

                                                                                      Labor & Delivery
                         Mother Transferred in Antepartum:                     NYS Facility Mother Transferred From:                                       State/Terr./Province:
                              Yes  No
  Delivery
  Labor &




                          Mother’s Weight at Delivery:
                                                                     lbs.

                          Fetal Presentation: (select one)
                              Cephalic        Breech              Other
  Method of Delivery




                          Route & Method: (select one)
                              Spontaneous  Forceps – Mid                Forceps – Low / Outlet        Vacuum           Cesarean          Unknown
                          Cesarean Section History:
                              Previous C-Section           Number
                          Attempted Procedures:
                             Was delivery with forceps attempted but unsuccessful?            Yes  No
                             Was delivery with vacuum extraction attempted but unsuccessful?  Yes  No

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                  Mother’s Name:                                                                                                                    Mother’s Med. Rec. Number:




                                                                                    Labor & Delivery
                           Trial Labor:
                               If Cesarean section, was trial labor attempted?                       Yes  No
                           Indications for C-Section:
                                Unknown
  Method of Delivery




                           Select all that apply
                                Failure to progress                 Malpresentation                                           Previous C-Section
                                Fetus at Risk / NFS                 Maternal Condition – Not Pregnancy Related                Maternal Condition – Pregnancy Related
                                Refused VBAC                        Elective                                                  Other
                           Indications for Vacuum:                                                          Indications for Forceps:
                                Unknown                                                                         Unknown
                           Select all that apply                                                            Select all that apply
                                Failure to progress                           Fetus at Risk                    Failure to progress                     Fetus at Risk
                                Other                                                                           Other
                           Onset of Labor
                            None  Unknown at this time
                           Select all that apply
  Labor




                              Prolonged Rupture of Membranes --               Premature Rupture of Membranes --                  Precipitous Labor -- (less than 3 hours)
                                 (12 or more hours)                              (prior to labor)
                              Prolonged Labor (20 or more hours)
                           Characteristics of Labor & Delivery
                                None  Unknown at this time
  Characteristics




                           Select all that apply
                                Induction of Labor – AROM                     Induction of Labor – Medicinal                     Augmentation of Labor
                                Steroids                                      Antibiotics                                        Chorioamnionitis
                                Meconium Staining                             Fetal Intolerance                                  External Electronic Fetal Monitoring
                                Internal Electronic Fetal Monitoring
                           Maternal Morbidity
  Maternal Morbidity




                                  None  Unknown at this time
                           Select all that apply
                              Maternal Transfusion                            Perineal Laceration (3rd / 4th Degree)             Ruptured Uterus
                              Unplanned Hysterectomy                          Admit to ICU                                       Unplanned Operating Room Procedure
                              Postpartum transfer to a higher level                                                                Following Delivery
                                 of care
                           Anesthesia / Analgesia
  Anesthesia / Analgesia




                                None  Unknown at this time
                           Select all that apply
                              Epidural (Caudal)                               Local                                              Spinal
                              General Inhalation                              Paracervical                                       General Intravenous
                              Pudendal
                           Was an analgesic administered?
                               Yes  No
                           Other Procedures Performed at Delivery
  Procedures




                                None  Unknown at this time
                           Select all that apply
                            Episiotomy and Repair            Sterilization



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                         Mother’s Name:                                                                                                                   Mother’s Med. Rec. Number:



                                                                                                  Mother
                                    Medical Record Number:

                                   Mother’s Education: (select one)
                                     8th grade or less                       Some college credit, but no degree              Master’s degree
          Mother’ s Demographics




                                     9th – 12th grade; no diploma            Associate’s degree                              Doctorate degree
                                     High school graduate; or GED            Bachelor’s degree
                                   City of Birth:                                                        State/Terr./Province of Birth:                   Country of Birth, if not USA:

                                   Hispanic Origin:
                                    Select all that apply
                                         No, not Spanish/Hispanic/Latina              Yes, Mexican, Mexican American, Chicana                  Yes, Puerto Rican
                                         Yes, Cuban                                   Yes, Other Spanish/Hispanic/Latina
                                                                                         Specify:
                                   Race:
                                   Select all that apply
          Mother’ s Demographics




                                       White/Caucasian                                Black or African American                                Asian Indian
                                       Chinese                                        Filipino                                                 Japanese
                                       Korean                                         Vietnamese                                               Native Hawaiian
                                       Guamanian or Chamorro                          Samoan
                                       American Indian or Alaska Native Tribe:
                                       Other Asian                     Specify:
                                       Other Pacific Islander          Specify:
Parents




                                       Other                           Specify:
                                   Residence Address
          Mother’ s Residence




                                    Street Address:

                                    State/Terr./Province:                          County:                                          City, Town or Village:

                                    Zip/Postal Code:            Mother’s Country of Residence, if not USA:                                   U.S./Canadian Phone Number:
                                                                                                                                             (      )        –
                                   Mailing Address – Most Recent
          Mother’ s Mailing




                                     Check here if the mailing address is the same as the residence address (otherwise enter information below)
              Address




                                    Mailing Address:

                                    City, Town or Village:                                  State/Terr./Province:                 Country, if not USA:                 Zip/Postal Code:

                                   Employment History
                                    Employed while Pregnant:                  Current / Most Recent Occupation:                                    Kind of Business / Industry:
          Employment




                                         Yes  No
                                    Name of Company or Firm:                                      Address:

                                    City:                                                             State/Territory/Province:                                      Zip / Postal Code:




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                                        Mother’s Name:                                                                                                                         Mother’s Med. Rec. Number:




                                                                                                       Father or Second Parent
                                                       Will the mother and father be executing an                What type of certificate is required?
                                                       Acknowledgement of Parentage?  Yes  No  Not required                     Mother / Father  Mother / Mother
                                                       Parent’s First Name:                                  Parent’s Middle Name:

                                                       Parent’s Current Last Name:                                                   Last Name on Parent’s Birth Certificate:

                                                       Parent’s Name Suffix                                      Social Security Number:
                                                             (e.g. Jr., 2nd, III):                                         –       –
                                                       Demographics
                                                        Parent’s Date of Birth:                    Education: (select one)
          Father‘ s or Second Parent’ s Demographics




                                                                   (MM/DD/YYYY)                     8th grade or less                              Some college credit, but no degree          Master’s degree
                                                                                                    9th – 12th grade; no diploma                   Associate’s degree                          Doctorate degree
                                                                      /        /
                                                                                                    High school graduate; or GED                   Bachelor’s degree
                                                         City of Birth:                                                       State/Terr./Province of Birth:                   Country of Birth, if not USA:

                                                       Hispanic Origin:
                                                       Select all that apply
                                                            No, not Spanish/Hispanic/Latino              Yes, Mexican, Mexican American, Chicano                  Yes, Puerto Rican
                                                            Yes, Cuban                                   Yes, Other Spanish/Hispanic/Latino
                                                                                                            Specify:
                                                       Race:
                                                       Select all that apply
                                                            White/Caucasian                              Black or African American                                Asian Indian
Parents




                                                            Chinese                                      Filipino                                                 Japanese
                                                            Korean                                       Vietnamese                                               Native Hawaiian
                                                            Guamanian or Chamorro                        Samoan
                                                            American Indian or Alaska Native Tribe:
                                                            Other Asian                    Specify:
                                                            Other Pacific Islander         Specify:
                                                            Other                          Specify:
                                                       Residence Address
                                                         Check here if the parent’s residence address is the same as the mother’s address
          Parent’ s Residence




                                                             (otherwise enter information below)
                                                         Street Address:

                                                         City, Town or Village:                                                                                 State / Territory / Province:

                                                         Parent’s Country of Residence, if not USA:                                                                             Zip / Postal Code:

                                                       Employment History
                                                        Current / Most Recent Occupation:                                              Kind of Business / Industry:
          Employment




                                                         Name of Company or Firm:                                    Address:

                                                         City:                                                           State / Territory / Province:                                  Zip / Postal Code:



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                 Mother’s Name:                                                                                                                        Mother’s Med. Rec. Number:


                                                                                       Prenatal History
                               Did mother receive              Primary Prenatal Care Provider Type:                                        Did mother participate in WIC?
                               prenatal care?
Parents




                                                                MD / DO / C(N)M / HMO                            No Information
                                   Yes  No                    Clinic                                           No Provider                   Yes  No
          Prenatal History




                                                                Other
                               Key Pregnancy Dates (MM/DD/YYYY)
                               Date of Last Menses:      Estimated Due Date:                              Date of First Prenatal Visit:                 Date of Last Prenatal Visit:
                                       /       /                 /     /                                           /       /                                      /      /
                               Prenatal Visits
                               Total Number of Prenatal Visits:

                               Pregnancy History
                               Previous Live Births:                           Previous Spontaneous                                     Previous Induced              Total Prior
                                                                               Terminations:                                            Terminations:                 Pregnancies:
          Pregnancy History




                               Now Living           Now Dead                   Less than 20 Weeks           20 Weeks or More
                               None or Number       None or Number             None or Number               None or Number              None or Number                None or Number
                                                                                                                                                                  

                               First Live Birth:         Last Live Birth:                  Last Other Pregnancy                  Prepregnancy                     Height:
                                   (MM / YYYY)                 (MM / YYYY)                 Outcome: (MM / YYYY)                  Weight:

                                          /                             /                                   /                                              lbs.              ft.            in.


                                                                                               Prenatal Care
                               Risk Factors in this Pregnancy
                                None  Unknown at this time
                               Select all that apply
                                Prepregnancy Diabetes                 Gestational Diabetes                            Prepregnancy Hypertension             Gestational hypertension
          Risk Factors




                                Other Serious Chronic Illnesses       Previous Preterm Births                         Abruptio Placenta                     Eclampsia
                                Other Poor Pregnancy Outcomes         Prelabor Referred for High Risk Care            Other Vaginal Bleeding                Previous Low
                                                                                                                                                                Birthweight Infant
                                Pregnancy resulted from infertility treatment (if yes, check all that apply)
                                   Fertility-enhancing drugs, artificial or intrauterine insemination
                                   Assisted reproductive technology (e.g. IVF, GIFT) Number of Embryos Implanted: (if applicable)

                               Infections Present and/or Treated During Pregnancy
                                None  Unknown at this time
          Infections




                               Select all that apply
                                Gonorrhea                            Syphilis                                  Herpes Simplex Virus (HSV)             Chlamydia
                                Hepatitis B                          Hepatitis C                               Tuberculosis                           Rubella
                                Bacterial Vaginosis
                               Other Risk Factors
          Other Risk Factors




                                                          List Number of Packs OR Cigarettes Smoked Per DAY
                               Smoking Before or           3 Months Prior to Pregnancy            First Three Months              Second Three Months             Third Trimester of Pregnancy
Parents




                               During Pregnancy?                                                     of Pregnancy                     of Pregnancy
                                                          Packs          OR Cigarettes        Packs       OR Cigarettes         Packs      OR Cigarettes          Packs       OR        Cigarettes
                                   Yes  No




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             Mother’s Name:                                                                                                                    Mother’s Med. Rec. Number:


                                                                                      Prenatal Care
                           Other Risk Factors
                           Alcohol                     Number of Drinks per                      Illegal Drugs
    Other Risk




                           Consumed During This        Week:                                     Used During This
                           Pregnancy?                                                            Pregnancy?
                               Yes  No                                                                Yes  No
                           Obstetric Procedures
    Obstetric Procedures




                            None  Unknown at this time
                           Select all that apply
                            Cervical Cerclage                             Tocolysis                    External Cephalic Version —  Successful  Failed
                            Fetal Genetic Testing
                           If woman was 35 or over, was fetal genetic testing offered?
                               Yes  No, Too Late  No, Other Reason
                           Serological Test for Syphilis?                 Date of Test:                               Reason, if No Test:
                               Yes  No                                  (MM/DD/YYYY)                                      Mother refused
                                                                                                                            Religious reasons
                                                                                        /          /
                                                                                                                            No prenatal care
                                                                                                                            Other
                                                                                                                            No time before delivery




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                                           Mother’s Name:                                                                                                                              Mother’s Med. Rec. Number:


                                                                                                                  Interview/Records
                                                                  Survey of Mother (in hospital)
                                                                  Did you receive prenatal care?  Yes  No (If ‘Yes’ please answer question 1. Otherwise skip to question 2.)
                                                                  1. During any of your prenatal care visits, did a doctor, nurse, or other health care worker talk with you about
                                                                     any of the things listed below?
                                                                                                                                                             Yes      No
                                                                      a. How smoking during pregnancy could affect your baby?                                        
                                                                      b. How drinking alcohol during your pregnancy could affect your baby?                          
                                                                      c. How using illegal drugs could affect your baby?                                             
                                 Survey of Mother (in hospital)




                                                                      d. How long to wait before having another baby?                                                
                                                                      e. Birth control methods to use after your pregnancy?                                          
                                                                      f. What to do if your labor starts early?                                                      
Parents




                                                                      g. How to keep from getting HIV (the virus that causes AIDS)?                                  
                                                                      h. Physical abuse to women by their husbands or partners?       
                                                                  2. How many times per week during your current pregnancy did you exercise for 30 minutes or                                              Times per week:
                                                                     more, above your usual activities?
                                                                  3. Did you have any problems with your gums at any time during pregnancy, for example,                                                     Yes
                                                                     swollen or bleeding gums?                                                                                                               No
                                                                  4. During your pregnancy, would you say that you were: (select one)
                                                                      Not depressed at all                                   A little depressed
                                                                      Moderately depressed                                   Very depressed
                                                                      Very depressed and had to get help
                                                                  5. Thinking back to just before you were pregnant, how did you feel about becoming pregnant?
                                                                      You wanted to be pregnant sooner                       You wanted to be pregnant later
                                                                      You wanted to be pregnant then                         You didn’t want to be pregnant then or at any time in the future
                                                                  Chart Review (Prenatal and Medical)
                                                                  1a. Copy of prenatal record in chart?
     Chart Review (Prenatal and Medical)




                                                                      Yes, Full Record                                                     Yes, Prenatal Summary Only
                                                                      No
                                                                  1b. Was formal risk assessment in prenatal chart?
                                                                      Yes, with Social Assessment                                          Yes, without Social Assessment
                                                                      No
                                                                  1c. Was MSAFP / triple screen test offered?
                                                                      Yes                                                                  No
                                                                      No, Too Late
                                                                  1d. Was MSAFP / triple screen test done?
                                                                      Yes                                                                  No
                                                                  2. How many times was the mother hospitalized during this
                                                                     pregnancy, not including hospitalization for delivery?
                                                                  Admission and Discharge Information
     Admission & Discharge




                                                                  Mother
                                                                   Admission Date for Delivery (MM/DD/YYYY)        Discharge Date (MM/DD/YYYY)
                                                                                  /        /                                           /          /
                                                                  Infant
                                                                   Discharge Date (MM/DD/YYYY)                     Discharged Home                         Infant Died at Birth Hospital
                                                                                                                   Infant Still in Hospital                Infant Discharged to Foster Care/Adoption
                                                                                  /        /                       Infant Transferred Out                  Unknown


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